The relief described hereinbelow is SO ORDERED.

SIGNED this 2nd day of November, 2018.




_________________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF KANSAS

 In Re:                                      )
                                             )            Case No. 18-20838-7 RDB
 SAMANTHA MARIE RUIZ                         )
                                             )
                             Debtor(s).      )

ORDER GRANTING THE CHAPTER 7 TRUSTEE’S APPLICATION AND AUTHORIZING
           AND APPROVING THE TRUSTEE’S RETAINMENT OF
                 BK GLOBAL REAL ESTATE SERVICES
    TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327

          NOW the above-captioned matter comes before this Court upon the Application of the

Chapter 7 Trustee, Christopher J. Redmond, by and through his counsel of record, pursuant to 11

U.S.C. § 327, requesting approval and authority to retain BK Global Real Estate Services in this

proceeding. The Trustee filed the Application on September 26, 2018 (Doc# 20), together with a

Notice (Doc# 21), which provided for an objection deadline of October 17, 2018. The Trustee

served the Application and Notice on the Office of the United States Trustee, Debtor’s counsel,

                                                                                     1|Page

                  Case 18-20838     Doc# 25      Filed 11/02/18   Page 1 of 7
the secured creditor and all parties of interest in this matter as shown within the certificate of

service within the Application and Notice. To date, no objections or responses have been filed

with the Court in this matter, nor have any objections or responses been served upon the Trustee

or his counsel concerning this Application to Employ BK Global Real Estate Services.

       The Court, having jurisdiction herein, finds as follows:

       1.   Samantha Marie Ruiz (the “Debtor”) filed for relief on April 24, 2018, under Chapter

            7 of the United States Bankruptcy Code and Christopher J. Redmond is the duly

            qualified and acting Chapter 7 Trustee of the bankruptcy estate of Samantha Marie

            Ruiz.

       2. The Debtor scheduled an ownership interest in real property, legally described as

            follows:

                               Lot 2, Douglas Woods, a Subdivision in
                               Wyandotte County, Kansas (commonly
                               referred to as 4905 Douglas Avenue, Kansas
                               City, Wyandotte County, Kansas),


            hereinafter referred to as the “Real Property”.

       3. The Real Property was not the Debtor’s homestead at the time of the filing of this

            bankruptcy proceeding, nor did the Debtor claim the Real Property as exempt.

       4. The Debtor’s former spouse, Vincent Ivy, also held an ownership interest in the subject

            Real Property, and on September 5, 2018, Vincent Ivy executed a Quit Claim Deed to

            Christopher J. Redmond, Trustee of the Bankruptcy Estate of Samantha Marie Ruiz.

            The bankruptcy estate now holds the undivided interest in and to the subject Real

            Property.

       5. The Debtor listed the Real Property within her schedules as having a value of

            $80,000.00.
                                                                                       2|Page

                    Case 18-20838     Doc# 25     Filed 11/02/18   Page 2 of 7
6. The Real Property is subject to the following mortgage(s) or lien(s):

       a. First Mortgage Holder: Nationstar Mortgage dba Mr. Cooper in an amount

           exceeding $111,004.00;

       b. Second Mortgage Holder: Specialized Loan Servicing (SLS) in an amount

           exceeding $22,269.27;

       c. Lien(s): None

7. Based upon the market value of the Real Property provided by the Debtor and the

   information regarding the mortgages on this Real Property, the first mortgage debt is

   in excess of the market value of the Real Property.

8. Based upon the market value of the Real Property provided by the Debtor and the

   information regarding the mortgages on this Real Property, the first mortgage debt is

   in excess of the market value of the Real Property.

9. The Handbook for Chapter 7 Trustees published by the Executive Office of the United

   States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General

   Standards “A trustee may sell assets only if the sale will result in a meaningful

   distribution to creditors. The Section further states “the trustee may seek a “carve-out”

   from a secured creditor and sell the property at issue if the “carve-out” will result in a

   meaningful distribution to creditors. Further, the Section states “The trustee must also

   consider whether the cost of administration or tax consequences of any sale would

   significantly erode or exhaust the estate’s equity interest in the asset.”

10. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK

   Global has expertise and experience in assisting the trustee in negotiating with secured

   creditors to accomplish the following:



                                                                                  3|Page

         Case 18-20838        Doc# 25      Filed 11/02/18     Page 3 of 7
       a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter

          7 Trustee determines to have made the best qualified offer with the sale

          approved by the Court, pursuant to 11 U.S.C. § 363;

       b. Obtain the release the senior mortgage and waive all of its claims against the

          estate with respect to the Real Property (including any deficiency claims

          resulting from the proposed sale);

       c. Work with the secured mortgage holder to enter into an agreement for an 11

          U.S.C. § 506 surcharge to pay all of the closing expenses associated with the §

          363 sale, including the payment of a six percent (6%) real estate brokerage

          commission and reimbursement of their out-of-pocket expenses to BK Global

          and any associated real estate professional, paid from the proceeds of the sale,

          and provide a meaningful carve out for the benefit of allowed unsecured

          creditors of the Debtor(s)’ estate; and

       d. Make certain the amount of the carve out is clearly set out in the motion to sell

          the Real Property pursuant to 11 U.S.C. § 363.

11. BK Global will assist the Chapter 7 Trustee in negotiations with the first mortgage

   holder to obtain the consent of the first mortgage holder for the sale of the Real

   Property. A carve out from the sale proceeds of the Real Property for the payment of

   a six percent (6%) real estate commission to BK Global and any associated real estate

   professional, and a carve out from the sale proceeds, such amount for the benefit of

   unsecured creditors of the bankruptcy estate, which will result in a meaningful

   distribution to the creditors, and upon a successful resolution with the secured creditor,

   a separate motion will be filed seeking approval of the settlement terms and conditions.



                                                                                  4|Page

         Case 18-20838       Doc# 25      Filed 11/02/18     Page 4 of 7
12. BK Global will not be entitled to any fees if the first mortgage holder does not grant

   its consent or the Court does not grant the motion to approve the sale of the Real

   Property.

13. In no event will the bankruptcy estate have any obligation to pay BK Global or

   associated real estate professional for their services, or to pay the customary title and

   closing services. The terms of the listing agreement and this Application provide that

   BK Global and listing agent are only entitled to payment if and when (a) secured

   creditor grants its consent, (b) the motion to approve sale is granted and (c) the Real

   Property is sold, in which event BK Global and listing agent will receive a six percent

   (6%) real estate brokerage commission and obtain reimbursement of any out-of-pocket

   expenses.

14. The Trustee believes that the highest and best value for the Real Property will be

   generated through a sale in which the Real Property is widely marketed to the public

   and offered at the highest price that the market will bear. The Trustee further believes

   that such a sale is in the best interest of the Debtor(s)’ bankruptcy estate, but can only

   be achieved if the secured creditor’s consent is first obtained. The Chapter 7 Trustee

   believes that retaining BK Global and/or an associated real estate professional to obtain

   the secured creditor’s consent is in the best interest of the Debtor(s)’ bankruptcy estate.

15. The Trustee submits that the terms of employment and compensation as set out in this

   application and the listing agreement, are reasonable in light of the extensive

   experience of BK Global and any associated real estate professional, and the nature of

   the services they provide. (See Exhibit “A” which was attached to the Application.)




                                                                                   5|Page

         Case 18-20838        Doc# 25     Filed 11/02/18      Page 5 of 7
       16. BK Global attested that it is a disinterested person within the meaning of Section

           101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and

           2016(a).     Attached to the Application as Exhibit “B” was the Affidavit of

           Disinterestedness of BK Global. BK Global also attests, pursuant to Bankruptcy Rule

           2016, that it shall not split or share its fee with any individual or entity other than the

           listing agent or a buyer’s agent, if applicable.

       The Court, having reviewed the file herein and being fully advised, finds that good cause

exists to grant the Trustee’s Application and for the entry of this Order.

       IT IS, THEREFORE, BY THE COURT ORDERED that the Notice provided by the

Trustee on the Application to Retain BK Global Real Estate Services was due, proper and

sufficient, and no further or additional notice is necessary or required.

       IT IS BY THE COURT FURTHER ORDERED that the Application filed herein by the

Chapter 7 Trustee on September 26, 2018 (Doc # 20), is hereby APPROVED and the Chapter 7

Trustee is hereby AUTHORIZED to retain BK Global Real Estate Services in this case and the

compensation arrangements set forth in the listing agreement and this application, pursuant to

Sections 327, 328(a) and 330 of the Bankruptcy Code are hereby APPROVED.

       IT IS BY THE COURT FURTHER ORDERED that the proposed Real Estate Listing

Agreement is hereby APPROVED and the Chapter 7 Trustee is hereby AUTHORIZED to execute

the same on behalf of this bankruptcy estate as he deems appropriate.

       IT IS SO ORDERED.

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                                                                                           6|Page

                 Case 18-20838        Doc# 25      Filed 11/02/18     Page 6 of 7
SUBMITTED BY:




s/ Christopher J. Redmond
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                                                                         7|Page

              Case 18-20838     Doc# 25   Filed 11/02/18   Page 7 of 7
